Case 2:23-cv-00585-JRG-RSP Document 32 Filed 06/20/24 Page 1 of 2 PageID #: 897




                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


  DISPLAY TECHNOLOGIES, LLC,
                 Plaintiff,
                                                       CIVIL ACTION NO. 2:23-cv-585-JRG
         v.

  ROCHE DIABETES CARE, LTD,                            JURY TRIAL DEMANDED
           Defendant.



           UNOPPOSED MOTION FOR ENTRY OF DOCKET CONTROL ORDER

        Plaintiff files this Unopposed Motion for Entry of this Docket Control Order. The Parties

 have conferred and agreed upon this Docket Control Order. Therefore, Plaintiff respectfully requests
 that the Court approve and enter same, a copy of which is attached hereto.


 Dated: June 20, 2024                                 Respectfully Submitted,

                                                      /s/ Randall T. Garteiser
                                                      Randall T. Garteiser
                                                         Texas Bar No. 24038912
                                                         rgarteiser@ghiplaw.com

                                                      GARTEISER HONEA, PLLC
                                                      119 W. Ferguson Street
                                                      Tyler, Texas 75702
                                                      Telephone: (903) 705-7420
                                                      Facsimile: (903) 405-3999

                                                      COUNSEL FOR PLAINTIFF
Case 2:23-cv-00585-JRG-RSP Document 32 Filed 06/20/24 Page 2 of 2 PageID #: 898




                             CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that the parties met and conferred and agreed to the
 Joint Proposed Order.
                                             /s/ Randall T. Garteiser
                                             Randall T. Garteiser



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
 document has been served on all counsel of record via the Court’s ECF system.


                                             /s/ Randall T. Garteiser
                                             Randall T. Garteiser




                                               -2-
